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William H. Thomas Jr.                                                        bill@whthomasfirm.com
Admitted in Georgia
and California (Inactive)


March 17, 2022

Courtroom Deputy
United States District Court
75 Ted Turner Drive, S.W.
Atlanta, Georgia 30303

           Re:        United States v. Kevin Clark, 1:20-CR-408-MLB-CMS
                      United States v. Touray, 1:20-CR-103 – TWT-LTW
                      United States v. Michael Peeker, 1:20-CR-306-TWT-CMS
                      United States v. Octavious Henry 4:21-CR-008-SDG-WEJ
                      United States v. Robert Brewer 1:22-CR-029-SCJ-RDC

Dear Courtroom Deputy/Clerk of Court:

        This letter is to notify the Court pursuant to LCrR 57.1E(4), NDGa, that I will be out of
the office on the following dates:

           March 25, 2022 to March 31, 2022
           April 25, 2022 to April 29, 2022
           May 9, 2022 to May 10, 2022
           May 17 to June 4, 2022
           July 20 to August 3, 2022



       I respectfully request that the court not schedule any court appearances in the above-
referenced matters for those dates.

Sincerely,

The W.H. Thomas Firm, LLC


William H. Thomas Jr.
William H. Thomas Jr.
